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IN THE UNITED STATES DISTRICT COURT
FOR THE SOUTHERN DISTRICT OF MISSISSIPPI
NORTHERN DIVISION
OLIVIA Y., et al.

CIVIL ACTION NO.: 3:04-cv-251-HSO-ASH

SOUTHERN DISTRICT OF MISSISSIPPI
p—L LED

Plaintiffs

Vv.

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TATE REEVES, as Governor of

the State of Mississippi, et al. APR 17 2025

Defendants ey UR JOHNSTON
DEPUTY

MOTION FOR APPOINTMENT AS GUARDIAN AD LITEM FOR THE
IN-CUSTODY CLASS IN THEIR BEST INTERESTS

COMES NOW, Chad Shook, a certified Guardian ad /item in the State of
Mississippi and a member in good standing of the Mississippi Bar and the Bar of
this Court, and on behalf of every child in the custody of the Mississippi
Department of Child Protection Services (MDCPS), respectfully moves this
Honorable Court for an Order of Appointment on behalf of this Court to serve as
Guardian ad litem for the In-Custody Class in this litigation, and in support of
the same demonstrates as follows:

PROCEDURAL HISTORY

This matter was initially filed by Plaintiffs on March 30, 2004. [Dkt. No. 1]. On March
31, 2004, Plaintiffs filed their Motion for Class Certification along with their Memorandum in
Support of Motion for Class Certification. [Dkt. Nos. 2 and 3]. This Court granted class
certification to the In-Custody Class on March 11, 2005. [Dkt. No. 84]. On March 22, 2005,
this Court appointed Class Counsel to represent the legal interests of the In-Custody Class
[Dkt. No. 86]. After a period of motion practice and discovery activities, Defendants

unsuccessfully sought Summary Judgment [Dkt. No. 280; Dkt. No. 350]. After additional and
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substantial discovery and motion practice, the parties have negotiated the following interim
resolutions, amended interim resolutions, and interim suspensions of agreements:
* Stipulated Settlement Agreement [Dkt. 415] on June 15, 2007; and,
Mississippi Settlement Agreement and Reform Plan Settlement Agreement [Dkt. No.
459] on January 4, 2008; and,

* Modified Mississippi Settlement Agreement and Reform Plan Settlement
Agreement [Dkt. No. 571] on July 6, 2012; and,

* 2" Modified Mississippi Settlement Agreement and Reform Plan Settlement
Agreement [Dkt. No. 712] on December 19, 2016; and,

+ Joint Stipulated Order for 2"4 MSA Rebuilding Period [Dkt. No. 917] on June 24,
2021; and,

+ Joint Stipulated Order to Modify Rebuilding Order [Dkt. No. 946] on April 25, 2023;
and,

+ Joint Stipulated Order Suspending the Second Modified Mississippi Settlement
[Dkt. No. 953] on July 17, 2023; and,

* Joint Stipulated Order Continuing Suspension of the Second Modified Mississippi
Settlement Agreement [Dkt. No. 955] on December 12, 2023; and,

* Joint Stipulated Order Continuing Suspension of the Second Modified Mississippi
Settlement Agreement [Dkt. No. 964] on October 18, 2024.

Per the terms of the Joint Stipulated Order Continuing Suspension of the Second Modified
Mississippi Settlement Agreement [Dkt. No. 964], reporting, monitoring, and enforcement of
2"d Modified Mississippi Settlement Agreement and Reform Plan [Dkt. No. 712] will resume
on April 15, 2025. Further, the Joint Stipulated Order Continuing Suspension of the Second
Modified Mississippi Settlement Agreement [Dkt. No. 964] provides a data reporting
schedule for Defendant MDCPS to provide data to the Plaintiffs through February 16, 2026
which would include data related to the In-Custody Class and evolving reforms through
December 31, 2025. Moreover, the Monitor is required to submit a report on 2024 data by

August 15, 2025 after which a limited discovery period is provided.
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INTRODUCTION

This litigation has evolved into a complete restructuring of the foster care system in
Mississippi. The In-Custody Class includes children who were in custody at the time of filing
as well as those who remain in custody including the 4,117 children in custody as of April 7,

2025 [See MDCPS Child Custody Maps at hiips://gis. mdcps.ms.gov/programs/foster-

care/child-custody-maps/]. While each of these class members are represented by Class

Counsel, there is no provision for assessing and reporting to the Court the impact that the
evolving reforms have on the current Class Members from a micro perspective — in effect a
best interests counsel - for the In-Custody Class.

The undersigned seeks appointment by the Court as the Guardian ad litem for the
In-Custody Class to ensure that the children's best interests are appropriately addressed
and not inadvertently disregarded in maintaining adherence to the 2nd Modified Settlement
Agreement and Reform Plan. In working toward a final resolution of this 21-year-old case, it
is imperative that the best interests of each member of the In-Custody Class are considered
prior to entry of a final disposition that will impact foster care in Mississippi for decades.

This litigation involves crucial decisions affecting the welfare and future of children in
foster care in Mississippi. The 2nd Modified Settlement Agreement and Reform Plan has
provided a framework for the handling of foster care cases and improving foster care
services from a macro perspective. However, Plaintiffs are specifically prohibited from
seeking relief on behalf of a single child (Dkt. No. 712, Para. 11.1.c, p. 28). This provision
suggests that Plaintiffs are pursuing the substantive due process improvements for the In-
Custody Class as a whole and not from an assessment of the impact the improvements —
potentially adverse in nature - may have on individual members of the In-Custody Class.

While any potential negative impacts to individual class members may or may not

require modification or amendment to the 2nd Modified Settlement Agreement and Reform
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Plan, it seems extremely important to the integrity of such a lengthy, litigious, and expensive
process as this case that the Court at least has some pertinent information to consider as to
the micro-level impact of the reforms that have been put into place and that continue to

impact the In-Custody Class members individually.

MISSISSIPPI STATUTORY LAW REQUIRES THE
APPOINTMENT OF A GUARDIAN AD LITEM FOR CHILDREN IN
FOSTER CARE IN STATE PROCEEDINGS

Under Mississippi law governing child welfare, the Guardian ad lifer is entrusted
with advocating for the best interests of children — not merely representing the legal
interests of children as counsel. State law requires the appointment of a Guardian ad litem
as a best interests advocate for abused and neglected children. [Miss. Code Ann. §43-21-
121(1)(e) (as amended)]. Moreover, different from the role of Class Counsel here protecting
legal interests, the Guardian ad litem:

. . Shall investigate, make recommendations to the court or enter reports as

necessary to hold paramount the child’s best interest. The guardian ad litem

is not an adversary party and the court shall ensure that guardians ad litem

perform their duties properly and in the best interest of their wards. The

guardian ad litem shall be a competent person who has no adverse interest to

the minor. [/d. at (3)]-

While this matter is not a proceeding in state court, the Guardian ad litem’s role, if permitted
by this Court, would mirror the role of a Guardian ad litem in state child welfare proceedings

to include representing the needs of each member of the In-Custody Class and not a mere

focus on the In-Custody Class as a whole.

FED. R. CIV. P. 17(C)(2) AUTHORIZES THE APPOINTMENT
OF A GUARDIAN AD LITEM IN THIS MATTER

Class counsel represents the legal interests of the named Class Members and the In-
Custody Class against the Defendants in an adversarial role which does not neatly translate

to a best interests advocacy role proposed here. Fed. R. Civ. P. 17(c)(2) permits the
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appointment of a Guardian ad fitem in situations where a minor is not represented. Here,
the In-Custody Class is without a best interests counsel. In this context, an assessment of
and advocacy for the In-Custody Class’ best interests is warranted and vital given the
nature and goals of this litigation.

A Guardian ad litem would provide the Court with a micro perspective of the application
of the macro reforms that are being instituted. The appointment of a Guardian ad litem for
the In-Custody Class at this juncture is opportune since monitoring will continue through at
least February 2026 pursuant to the Joint Stipulated Order Continuing Suspension of the
Second Modified Mississippi Settlement Agreement [Dkt. No. 964].

PROPOSED STRUCTURE AND OPERATION OF THE GUARDIAN AD LITEM’S WORK

The Guardian ad litem, if permitted by this Court in the best interests of the In-Custody
Class, proposes submitting quarterly reports to the Court on the last day of the months of
March, June, September, and December beginning June 30, 2025. This would ensure
recognition and consideration of the In-Custody Class’ individual welfare in any final
resolution of this litigation as well as provide information for Plaintiffs and Defendants that
may prove helpful in fashioning improvements to the 2" Second Modified Mississippi
Settlement Agreement and Reform Plan [Dkt. No. 964].

The proposed In-Custody Class for these purposes will be those children in the custody
of the MDCPS as ordered by a Mississippi youth court on the last day of the month
preceding the month in which this Court enters its Order of Appointment. The undersigned
would serve as the Guardian ad litem for the In-Custody Class and would conduct his
investigative work in the best interests of the In-Custody Class in each of the seven (7)
operational service areas of MDCPS in effect at the time of appointment. Each quarterly
report would contain important information on how the systemic changes are impacting

approximately 800-1000 individual, In-Custody Class members. The Guardian ad litem’s
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work can be broadened or narrowed in any way that the Court deems helpful to the Court in
receiving a micro-level view of the impact of the systemic reforms in progress to the
Mississippi child welfare system on the individual In-Custody Class members.

Given the nature of the undersigned’s work in this space during the course of this
litigation, any conflicts of interest, of which few are anticipated, that are discovered by the
undersigned would be resolved by seeking assistance from other certified Guardian(s) ad
litem to provide the best interests assessments on those members of the In-Custody Class.
The undersigned will coordinate all administrative aspects of this appointment in order to
provide the Court with a single point of contact for providing these important best interests
assessments for the In-Custody Class. Compensation for the Guardian ad litem would be in
the Court’s discretion based on submissions for payment made with each of the proposed
quarterly reports.

In further support of this Motion, the appointment of a Guardian ad litem permits the
Court to have:

e Prioritized the Best Interests of the In-Custody Class: The primary concern in foster
care cases is the best interests and well-being of the children. Though undoubtedly a
concern of the Plaintiffs, without a best interests advocate for the In-Custody Class,
the current adversarial process does not allow for prioritization of the best interests
of the In-Custody Class as evidenced by the prohibition against Plaintiffs pursuing
relief for any single child (Dkt. No. 712, Para. 11.1.c, p. 28). The appointment of a
Guardian ad litem would prioritize the best interests of the In-Custody Class; and,

e identified Potential Pitfalls from the In-Custody Class Members’ Perspective: There is
an urgent need to address the potential pitfalls and inattention to the children's

individual interests in the name of adherence to adversarial negotiations that
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resulted in the 2nd Modified Settlement Agreement and Reform Plan; a Guardian ad
litem for the In-Custody Class would address these pitfalls; and,

e Robust Individual Advocacy for the Best Interests of Class Members: There exists a
great need to provide robust individual advocacy for the best interests of the In-
Custody Class. This is to ensure their best interests are met and their voices heard
in the instant litigation. Further, the information that the Guardian ad litem would
provide the Court on the manner and methods of implementation of the 2nd Modified
Settlement Agreement and Reform Plan could identify potential adjustments to the
Reform Plan that prioritize the children's best interests where there may exist cases
where one or more In-Custody Class Members’ best interests are not being served
by the well-intentioned agreements brought about by adversarial negotiations
between the parties; and,

e Oversight: In much the same way as the Monitor is providing oversight on the
Defendant MDCPS’ compliance with the 2nd Modified Settlement Agreement and
Reform Plan, the Guardian ad litem would monitor the ongoing impact of the 2nd
Modified Settlement Agreement and Reform Plan on the In-Custody Class Members’
best interests on a micro basis.

CONCLUSION
By granting the undersigned’s Motion, the Court not only will have the benefit of the
Monitor’s reporting on the systemic changes to the Mississippi child welfare system as a
whole but also will receive micro-level information of the impact of the systemic changes on
the In-Custody Class. This information will permit the Court to ensure that an individual

child’s welfare is considered in the process of adhering to and implementing the 2"¢
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Amended Settlement Agreement and Reform Plan that was negotiated in an adversarial

posture and any other similarly negotiated agreements in the future.

RESPECTFULLY SUBMITTED this the 15" day of April, 2025.

CHAD SHOOK"(MBN: 99677)

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CERTIFICATE OF SERVICE

|, Chad Shook, certify that | have caused electronic service on the following

individuals who executed Document 964 in this cause as well as others designated for

Notice in this proceeding via the PACER system after conventional filing:

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THIS the 15 day of April, 2025.
Cs SHOOK —

